                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI



H&R BLOCK, INC. and HRB
INNOVATIONS, INC.,
                                                      Case No. 4:21-cv-00913-NKL
                       Plaintiffs,

        V.

BLOCK, INC.,

                       Defendant.


     DEFENDANT BLOCK, INC.’S MOTION FOR STAY PENDING APPEAL OF
           PRELIMINARY INJUNCTION PURSUANT TO RULE 62

       Pursuant to Federal Rule of Civil Procedure 62 and this Court’s inherent authority,

Defendant Block, Inc. respectfully moves for an interim administrative stay of this Court’s April

28 preliminary injunction order (Dkt. 105) during the pendency of Defendant’s

contemporaneously filed motion (Dkt. 113) for a stay pending appeal pursuant to Federal Rule of

Civil Procedure 62(d) and Federal Rule of Appellate Procedure 8(a)(1) or until the Eighth Circuit

resolves any renewed motion Defendant may make pursuant to Federal Rule of Appellate

Procedure 8(a)(2).

       In support of this Motion, Defendant submits the Suggestions in Support of the Motion.




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Dated: May 6, 2022                           Respectfully submitted:

                                             By: /s/         David A. Jermann_______

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                                CERTIFICATE OF SERVICE

        This is to certify that on Friday, May 6, 2022, a true and accurate copy of the above and

foregoing was e-filed with the Court using the CM/ECF system which sent notification to all

parties entitled to service.

                                             By: /s/    David A. Jermann
                                             Attorney for Defendant




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